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                                               ID #:133



 1
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 3   Pasadena, CA 91101
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 4
     noah@gspattomeys.com
 5

 6
     Attorneys for Defendants, Taras Investments LLC, et a.

 7                        UNITED STATES DISTRICT COURT
 8

 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     Shonna Marie Counter,                                CASE NO. 2:21-cv-04368 MCS
11
                 Plaintiff,                               (MARx)
12
           vs.                                            DECLARATION OF TARA BLACK
13                                                        IN SUPPORT OF DEFENDANTS'
14   Taras Investments LLC, a                             MOTION FOR SUMMARY
     Delaware Limited Liability                           JUDGMENT
15
     Company; Taras Himalayan Cuisine,
16   Inc.; and Does 1 - 10,                               Date:               January 10, 2022
                                                          Time:               2:00 p.m.
17
                 Defendants.                              Courtroom:          8A
18                                                        Judge:              Hon. Virginia Phillips
19

20

21

22
                 I am the manager and owner of defendant, Taras Investments LLC,
23

24
     and also the president and owner of defendant, Taras Himalayan Cuisince 3, Inc.

25   ( erroneously suied as "Taras Himalayan Cuisine, Inc.")
26

27

28   ///



                       Declaration of Tara Black in Support of Motion for Summary Judgment
                               CASE NO. CASE NO. 2:21-cv-04368 MCS (MARx)
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           2.     On December 19, 2018, plaintiff, Shonna Marie Counter, filed a civil

 2
     action in this courthouse against Taras Investments, LLC, for violations of the
 3
     Americans with Disabilities Act. A true and correct copy of the Complaint from
 4

 5   that case, which was assigned case number 2: 18-cv-10406 ("First Case"), is
 6
     attached hereto as Exhibit 1.
 7

 8         3.     The allegations in the First Case arose from plaintiff's alleged visits to
 9
     my restaurant located at 10855 Venice Boulevard, Los Angeles, California in
10

11
     October, November, and December 2018. Id. at ,r,r2-3, 10.

12         4.     Plaintiff alleged in the First Case that during those visits she
13
     attempted to park in the handicap parking space of our parking lot but she could
14

15   not do so because it was blocked by a dumpster and storage shed. Id. at ,I,I12-15.
16
           5.     Within 30 days of receiving the Summons and Complaint in the First
17

18
     Case, I had the storage shed and dumpster removed so that the handicap parking

19
     space was no longer blocked. True and correct copies of photographs showing the
20
     handicap parking space after I removed the shed and dumpster, and how it still
21

22   looks today, are attached hereto as Exhibit 2.
23
           6.     The First Case was dismissed without prejudice on December 18,
24

25   2019 based on the mistaken representation by counsel to the court that the case had
26
     settled. A true and correct copy of the court's Order of Dismissal is attached
27
     hereto as Exhibit 3.
28

                                                        2
                        Declaration of Tara Black in Support of Motion for Summary Judgment
                                 CASE NO. CASE NO. 2:2 l-cv-04368 MCS (MARx)
     Case 2:21-cv-04368-VAP-MAR               Document 25-1            Filed 11/16/21            Page 3 of 24 Page
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            7.     In fact, defendants had agreed to the terms of a settlement and signed

 2   the settlement agreement prepared by plaintiffs counsel in the First Case.
 3
     However, plaintiff never signed the settlement agreement and terminated her
 4

 5   original attorneys.
 6
            8.     In May 2021, i.e., approximately 1.5 years after the First Case was
 7

 8   dismissed, plaintiff filed another Complaint in this courthouse and assigned case
 9
     number 2:21-cv-04368 ("Second Case") alleging the same facts and legal theories

     as those alleged in the First Case. A true and correct copy of the Complaint filed
11

12   in this case is attached hereto as Exhibit 4.
13
            9.     In particular, the Complaint in this Second Case claims that plaintiff
14

15   visited my restaurant in October-December 2018, and that she could not park in the
16
     handicap spot because the shed and dumpster were blocking it. See Exhibit 4 at
17

18   ,r,r3-5, 11, 14-15.
19
            I hereby affirm that the facts stated herein are true and correct under penalty
20
     of perjury.
21

22

23
     Dated: November 9, 2021
24                                                     TARA BLACK, declarant
25                                                     Los Angeles, CA
26

27

28

                                                           3
                           Declaration of Tara Black in Support of Motion for Summary Judgment
                                    CASE NO. CASE NO. 2:2 l-cv-04368 MCS (MARx)
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                             Exhibit 1
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  1      CENTER FOR DISABILITY ACCESS
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         Phyl Grace, Esq., SBN 171771
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  7
         Attorneys for Plaintiff
  8
  9
 10
                                 UNITED STATES DISTRICT COURT
 11                             CENTRAL DISTRICT OF CALIFORNIA
 12
 13      Shonna Counter,                         CaseNo.
 14                Plaintiff,
                                                 Complaint For Dama~es And
 15        v.                                    Injunctive Relief For Violations
                                                 Of: American's With Disabilities
 16      Taras Investments LLC, a                Act; Unruh Civil Rights Act
         Delaware Limited Liabili!Y
 17      Company; and Does 1-10,
 18                Defendants.
 19
 20             Plaintiff Shonna Counter complains of Taras Investments LLC, a
 21   Delaware Limited Liability Company; and Does 1-10 ("Defendants"), and
 22   alleges as follows:
 23
 24      PARTIES:
 25      1. Plaintiff is a California resident with physical disabilities. She suffers
 26   from spinal muscular atrophy. Because of her disability, plaintiff has dexterity
 27   issues with her hands. Plaintiff drives a van that has a handicap placard issued
 28   by the state of California. She uses both a walker and wheelchair for mobility.


                                             1

      Complaint
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  1      2. Defendant Taras Investments LLC owned the real property located at
  2   or about 10 8 5 5 Venice Blvd., Los Angeles, California, in October 2018.
  3      3. Defendant Taras Investments LLC owned the real property located at
  4   or about 10855 Venice Blvd., Los Angeles, California, in November 2018.
  5      4. Defendant Taras Investments LLC owned the real property located at
  6   or about 10855 Venice Blvd., Los Angeles, California, in December 2018.
  7      5. Defendant Taras Investments LLC owns the real property located at or .
  8   about 10855 Venice Blvd., Los Angeles, California, currently.
  9      6. Plaintiff does not know the true names of Defendants, their business
 10   capacities, their ownership connection to the property and business, or their
 11   relative responsibilities in causing the access violations herein complained of,
 12   and alleges a joint venture and common enterprise by all such Defendants.
 13   Plaintiff is informed and believes that each of the Defendants here~n,
 14   including Does 1 through 10, inclusive, is responsible in some capacity for the
 15   events herein alleged, or is a necessary party for obtaining appropriate relief.
 16   Plaintiff will seek leave to amend when the true names, capacities,
 17   connections, and responsibilities of the Defendants and Does 1 through 10,
 18   inclusive, are ascertained.
 19
 20      JURISDICTION &VENUE:
 21      7. The Court has subject matter jurisdiction over the action pursuant to 2 8
 22   U.S.C. § 1331 and§ 1343(a)(3) & (a)(4) for violations of the Americans with
 23   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 24      8. Pursuant to supplemental jurisdiction, an attendant and related cause
 25   of action, arising from the same nucleus of operative facts and arising out of
 26   the same transactions, is also brought under California's Unruh Civil Rights
 27   Act, which act expressly incorporates the Americans with Disabilities Act.
 28      9. Venue is proper in this court pursuant to 2 8 U.S.C. § 13 91 (b) and is


                                             2

      Complaint
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  1   founded on the fact that the real property which is the subject of this action is
  2   located in this district and that Plaintiff's cause of action arose in this district.
  3

  4      FACTUAL ALLEGATIONS:
  5      10. During the relevant statutory period, plaintiff has been a regular
  6   customer at the Restaurant. She visited the Restaurant at least five times
  7   during the statutory period, including most recently in October 2018 and
  8   December 2018. She also had two occasions when she would have visited the
  9   Restaurant but did not because of her knowledge of the barriers at the
 1O   Restaurant. In fact, plaintiff was deterred from visiting in November 2018 and
 11   December 2018. This Restaurant is conveniently located. Indeed, the
 12   Restaurant is only about three miles from plaintiff's home.
 13      11. The Restaurant is a facility open to the public, a place of public
 14   accommodation, and a business establishment.
 15      12. Parking spaces are one of the facilities, privileges, and advantages
 16   offered by Defendants to patrons of Restaurant.
 17      13. Unfortunately, even though there is a parking space marked and
 18   designed for persons with disabilities in the parking lot that serves the
 19   Restaurant, the defendants store a shed in the parking stall designed for
 20   persons with disabilities and they store a large dumpster in the access aisle that
 21   is designed for persons with disabilities.
 22      14. The shed and dumpster, along with other miscellaneous items, have
 23   been stored in the parking space reserved for persons with disabilities during
 24   every one of plaintiff's visits. Clearly, the defendants use the parking space to
 25   permanently store the shed and dumpster.
 26      15. The use of the parking space marked and reserved for persons with
 27   disabilities as a "storage" area is egregious.
 28      16. Still, because of the location of this Restaurant, and because plaintiff


                                                3

      Complaint
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  1   enjoys the food at the Restaurant, plaintiff is looking forward to defendants
  2   removing the parking barriers so that she can return again.
  3      17. Defendants have failed to maintain in operable working condition those
  4   features of facilities and equipment that are required to be readily accessible to
  5   and usable by persons with disabilities at the Subject Property.
  6      18. Plaintiff personally encountered these barriers.
  7      19. This inaccessible facility denied the plaintiff full and equal access and
  8   caused her difficulty, discomfort, anger, and embarrassment.
  9      20. Plaintiff will return to the Restaurant to avail herself of its goods or
 1O   services once the barriers are permanently removed. If the barriers are not
 11   removed, the plaintiff will face unlawful and discriminatory barriers again.
 12      21. The defendants have failed to maintain in working and useable
 13   conditions those features required to provide ready access to persons with
 14   disabilities.
 15      2 2. The barriers identified above are easily removed without much
 16   difficulty or expense. They are the types of barriers identified by the
 17   Department of Justice as presumably readily achievable to remove and, in fact,
 18   these barriers are readily achievable to remove.
 19      2 3. Given the obvious and blatant nature of the barriers and violations
 20   alleged herein, the plaintiff alleges, on information and belief, that there are
 21   other violations and barriers on the site that relate to her disability. Plaintiff
 22   will amend the complaint, to provide proper notice regarding the scope of this
 23   lawsuit, once she conducts a site inspection. However, please be on notice that
 24   the plaintiff seeks to have all barriers related to her disability remedied. See
 25   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 26   encounters one barrier at a site, she can sue to have all barriers that relate to
 27   her disability removed regardless of whether she personally encountered
 28   them).


                                              4

       Complaint
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  1   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  2   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
  3   Defendants.) (42 U.S.C. section 12101, et seq.)
  4      24. Plaintiff re-pleads and incorporates by reference, as if fully set forth
  5   again herein, the allegations contained in all prior paragraphs of this
  6   complaint.
  7      25. Under the ADA, it is an act of discrimination to fail to ensure that the
  8   privileges, advantages, accommodations, facilities, goods and services of any
  9   place of public accommodation is offered on a full and equal basis by anyone
 1O   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 11    § 12182(a). Discrimination is defined, inter alia, as follows:
 12             a. A failure to make reasonable modifications in policies, practices,
 13                or procedures, when such modifications are necessary to afford
 14                goods,     services,   facilities,   privileges,     advantages,   or
 15                accommodations to individuals with disabilities, unless the
 16                accommodation would work a fundamental alteration of those
 17                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 18             b. A failure to remove architectural barriers where such removal is
 19                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 20                defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 21                Appendix "D."
 22             c. A failure to make alterations in such a manner that, to the
 23                maximum extent feasible, the altered portions of the facility are
 24                readily accessible to and usable by individuals with disabilities,
 25                including individuals who use wheelchairs or to ensure that, to the
 26                maximum extent feasible, the path of travel to the altered area and
 27                the bathrooms, telephones, and drinking fountains serving the
 28                altered area, are readily accessible to and usable by individuals


                                               5

       Complaint
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   1                 with disabilities. 42 U.S.C. § 12183(a)(2).
   2     2 6. Any business that provides parking spaces must provide accessible
   3   parking spaces. 2010 Standards § 208. Under the 2010 Standards, one in
   4   every six accessible parking spaces must be van accessible. 2010 Standards§
   5
       208.2.4.
   6
         2 7. Here, because the defendants use the parking space designed for
   7
       persons with disabilities as a storage area, there is no useable and available
   8
       parking space for plaintiff. The lack of an accessible parking space is a violation
   9
       of the law.
  10
         28. A public accommodation must maintain in operable working condition
  11
       those features of its facilities and equipment that are required to be readily
  12
       accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
  13
         2 9. Here, the failure to ensure that the accessible facilities were available
  14
       and ready to be used by the plaintiff is a violation of the law.
  15
  16
       II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
  17
       RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
  18
       Code§ 51-53.)
  19
         30. Plaintiff repleads and incorporates by reference, as if fully set forth
  20
       again herein, the allegations contained in all prior paragraphs of this
  21
       complaint. The Unruh Civil Rights Act ("Unruh Act") guarantees, inter alia,
  22
       that persons with disabilities are entitled to full and equal accommodations,
  23
       advantages, facilities, privileges, or services in all business establishment of
  24
       every kind whatsoever within the jurisdiction of the State of California. Cal.
  25
       Civ. Code §Sl(b).
  26
          31. The Unruh Act provides that a violation of the ADA is a violation of the
  27
       Unruh Act. Cal. Civ. Code, § 51 (f).
  28



                                                6

       Complaint
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   1      32. Defendants' acts and omissions, as herein alleged, have violated the
   2   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff's
   3   rights to full and equal use of the accommodations, advantages, facilities,
   4   privileges, or services offered.
   5      3 3. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
   6   discomfort or embarrassment for the plaintiff, the defendants are also each
   7   responsible for statutory damages, i.e., a civil penalty. (Civ. Code§ 55.56(a)-
   8   (c).)
   9
  10             PRAYER:
  11             Wherefore, Plaintiff prays that this Court award damages and provide
  12   relief as follows:
  13           1. For injunctive relief, compelling Defendants to comply with the
  14   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
  15   plaintiff is not invoking section 5 5 of the California Civil Code and is not
  16   seeking injunctive relief under the Disabled Persons Act at all.
  17           2. Damages under the Unruh Civil Rights Act, which provides for actual
  18   damages and a statutory minimum of $4,000 per occasion.
  19           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
  20   to 42 U.S.C. § 12205; and Cal. Civ. Code§§ 52.
  21

  22   Dated: December 14, 2018             CENTER FOR DISABILITY ACCESS
  23
  24
  25                                        By:
  26
                                                  Chris Carson, Esq.
  27                                              Attorney for plaintiff
  28


                                                  7

       Complaint
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                             Exhibit 2
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                                                              TARAS 000006
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                                                              TARAS 000010
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                             Exhibit 3
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  2                                                                                JS-6
  3

  4
  5
  6
  7
  8                                                UNITED STATES DISTRICT COURT
  9                                               CENTRAL DISTRICT OF CALIFORNIA

 10
 11   SHONNA COUNTER                                            Case No. 2:18-cv-10406 VAP (FFMx)
 12                                     Plaintiffs,             ORDER OF DISMISSAL
 13              V.

 14 TARAS INVESTMENTS LLC,
 15                                     Defendants.
 16
 17          The Court having been advised by counsel for the parties that the above-entitled
      action has settled,
 18
 19          IT IS ORDERED that this action be, and hereby is, dismissed in its entirety without
      prejudice.
 20
 21         THE COURT to retain jurisdiction for a period of sixty (60) days to enforce the
      terms of the settlement. All pending dates are vacated.
 22
 23              December 18, 2019
      Dated:
 24              ------                                                           LLIPS
                                                                          1ted States District Judge
 25
 26

 27

 28

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                             Exhibit 4
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   5
       Attorney for Plaintiff, Shonna Counter
   6

   7                          UNITED STATES DISTRICT COURT
   8
                             CENTRALDISTRICTOFCALIFORNIA
   9

  lO   SHONNA MARIE COUNTER,                           CASE NO.
  11
                      Plaintiff,                       COMPLAINT FOR DAMAGES AND
  12   vs.                                             INJUNCTIVE RELIEF FOR
  13
                                                       VIOLATIONS OF: AMERICAN'S
       TARAS INVESTMENTS, LLC., A                      WITH DISABILITIES ACT; UNRU
  14   DELAWARE LIMITED LIABILITY                      CIVIL RIGHTS ACT
       COMPANY; TARAS HIMALAYAN
  15   CUISINE, INC.; AND DOES 1-10,
  16
                      Defendants.
  17
              Plaintiff Shonna Counter complains of Taras Investments LLC., a Delaware
  18
       Limited Liability Company; and Does 1-10 ("Defendants"), and alleges as follows:
  19
                                                PARTIES:
  20
       1.     Plaintiff is a California resident with physical disabilities. She suffers from spinal
  21
       muscular atrophy. Because of her disability, plaintiff has dexterity issues with her hands.
  22
       Plaintiff drives a van that has a handicap placard issued by the state of California. She
  23
       uses both a walker and wheelchair for mobility.
  24   2.     Taras Himalayan Cuisine, Inc. is a California Corporation registered to do
  25   business in the State of California and, at all times referenced in this complaint,
  26   operating at 10855 Venice Blvd., Los Angeles, California.
  27   3.     Defendant Taras Investments, LLC. owned the real property located at or about
  28   10855 Venice Blvd., Los Angeles, California, in October 2018.

                                               1
                                    COMPLAINT FOR DAMAGES
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   1   4.     Defendant Taras Investments, LLC. owned the real property located at or about
   2   10855 Venice Blvd., Los Angeles, California, in November 2018.
   3   5.     Defendant Taras Investments, LLC. owned the real property located at or about

   4   10855 Venice Blvd., Los Angeles, California, in December 2018.

   5   6.     Defendant Taras Investments LLC owns the real property located at or about

   6   10855 Venice Blvd., Los Angeles, California, currently.
       7.     Plaintiff does not know the true names of Defendants, their business capacities,
   7
       their ownership connection to the property and business, or their relative responsibilities
   8
       in causing the access violations herein complained of, and alleges a joint venture and
   9
       common enterprise by all such Defendants. Plaintiff is informed and believes that each
  10
       of the Defendants herein, including Does 1 through 10, inclusive, is responsible in some
  11
       capacity for the events herein alleged, or is a necessary party for obtaining appropriate
  12
       relief. Plaintiff will seek leave to amend when the true names, capacities, connections,
  13
       and responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
  14
                                      JURISDICTION & VENUE:
  15
       8.     The Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. §
  16   1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with Disabilities Act of
  17   1990, 42 U.S.C. § 12101, et seq.
  18   9.     Pursuant to supplemental jurisdiction, an attendant and related cause of action,
  19   arising from the same nucleus of operative facts and arising out of the same transactions,
  20   is also brought under California's Unruh Civil Rights Act, which act expressly
  21   incorporates the Americans with Disabilities Act.

  22   10.    Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded on

  23   the fact that the real property which is the subject of this action is located in this district

  24   and that Plaintiffs cause of action arose in this district.

  25
                                      FACTUAL ALLEGATIONS:
       11.    During the relevant statutory period, plaintiff has been a regular customer at the
  26
       Restaurant. She visited the Restaurant at least five times during the statutory period,
  27
       including most recently in October 2018 and December 2018. She also had two
  28

                                                      2
                                     COMPLAINT FOR DAMAGES
Case 2:21-cv-04368-VAP-MAR          Document 25-1      Filed 11/16/21     Page 21 of 24 Page
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    1   occasions when she would have visited the Restaurant but did not because of her
    2   knowledge of the barriers at the Restaurant. In fact, plaintiff was deterred from visiting
    3   in November 2018 and December 2018. This Restaurant is conveniently located. Indeed,

   4    the Restaurant is only about three miles from plaintiff's home.

    5   12.    The Restaurant is a facility open to the public, a place of public accommodation,

    6   and a business establishment.
        13.    Parking spaces are one of the facilities, privileges, and advantages offered by
    7
        Defendants to patrons of Restaurant.
    8
        14.    Unfortunately, even though there is a parking space marked and designed for
   9
        persons with disabilities- in the parking lot that serves the Restaurant, the defendants
  10
        store a shed in the parking stall designed for persons with disabilities and they store a
   11
        large dumpster in the access aisle that is designed for persons with disabilities.
   12
        15.    The shed and dumpster, along with other miscellaneous items, have been stored
  13
        in the parking space reserved for persons with disabilities during every one of plaintiff's
  14
        visits. Clearly, the defendants use the parking space to permanently store the shed and
  15
        dumpster.
  16    16.    The use of the parking space marked and reserved for persons with disabilities as
  17    a "storage" area is egregious.
  18    17.    Still, because of the location of this Restaurant, and because plaintiff enjoys the
  19    food at the Restaurant, plaintiff is looking forward to defendants removing the parking
  20    barriers so that she can return again.
  21    18.    Defendants have failed to maintain in operable working condition those features

  22    of facilities and equipment that are required to be readily accessible to and usable by

  23    persons with disabilities at the Subject Property.

  24    19.    Plaintiff personally encountered these barriers.

  25
        20.    This inaccessible facility denied the plaintiff full and equal access and caused her
        difficulty, discomfort, anger, and embarrassment.
  26
        21.    Plaintiff will return to the Restaurant to avail herself of its goods or services once
  27
        the barriers are permanently removed. If the barriers are not removed, the plaintiff will
  28

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    1   face unlawful and discriminatory barriers again.
   2    22.    The defendants have failed to maintain in working and useable conditions those
   3    features required to provide ready access to persons with disabilities.
   4    23.    The barriers identified above are easily removed without much difficulty or

   5    expense. They are the types of barriers identified by the Department of Justice as

   6    presumably readily achievable to remove and, in fact, these barriers are readily
        achievable to remove.
   7
        24.    Given the obvious and blatant nature of the barriers and violations alleged herein,
   8
        the plaintiff alleges, on information and belief, that there are other violations and barriers
   9
        on the site that relate to her disability. Plaintiff will amend the complaint, to provide
  10
        proper notice regarding the scope of this lawsuit, once she conducts a site inspection.
  11
        However, please be on notice that the plaintiff seeks to have all barriers related to her
  12
        disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once
  13
        a plaintiff encounters one barrier at a site, she can sue to have all barriers that relate to
  14
        her disability removed regardless of whether she personally encountered them).
  15
                                                         I.
  16                                     FIRST CAUSE OF ACTION
   17         VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
   18     (On behalf of Plaintiff and against all Defendants.) (42 U.S.C. section 12101, et seq.)
  19    25.    Plaintiff re-pleads and incorporates by reference, as if fully set forth again herein,
  20    the allegations contained in all prior paragraphs of this complaint.
  21    26.    Under the ADA, it is an act of discrimination to fail to ensure that the privileges,
  22    advantages, accommodations, facilities, goods and services of any place of public
  23    accommodation is offered on a full and equal basis by anyone who owns, leases, or

  24    operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination is

  25
        defined, inter alia, as follows:
               a.      A failure to make reasonable modifications in policies, practices, or
  26
               procedures, when such modifications are necessary to afford goods,
  27
               services,   facilities,     privileges,   advantages,    or accommodations    to
  28

                                                         4
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   1          individuals with disabilities, unless the accommodation would work a
   2          fundamental alteration of those services and facilities. 42 U.S.C. §
   3          12182(b)(2)(A)(ii).

   4          b.     A failure to remove architectural barriers where such removal is

   5          readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are defined by

   6          reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix "D."

   7
              c.     A failure to make alterations in such a manner that, to the maximum
              extent feasible, the altered portions of the facility are readily accessible to
   8
              and usable by individuals with disabilities, including individuals who use
   9
              wheelchairs or to ensure that, to the maximum extent feasible, the path of
  10
              travel to the altered area and the bathrooms, telephones, and drinking
  11
              fountains serving the altered area, are readily accessible to and usable by
  12
              individuals with disabilities. 42 U.S.C. § 12183(a)(2).
  13
       27.    Any business that provides parking spaces must provide accessible parking
  14
       spaces. 2010 Standards § 208. Under the 2010 Standards, one in every six accessible
  15
       parking spaces must be van accessible. 2010 Standards§ 208.2.4.
  16   28.    Here, because the defendants use the parking space designed for persons with
  17   disabilities as a storage area, there is no useable and available parking space for plaintiff.
  18   The lack of an accessible parking space is a violation of the law.
  19   29.    A public accommodation must maintain in operable working condition those
  20   features of its facilities and equipment that are required to be readily accessible to and
  21   usable by persons with disabilities. 28 C.F.R. § 36.21 l(a).
  22   30.    Here, the failure to ensure that the accessible facilities were available and ready to
  23   be used by the plaintiff is a violation of the law.

  24                                                 II.

  25
                                    SECOND CAUSE OF ACTION
                       VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
  26
             (On behalf of Plaintiff and against all Defendants.) (Cal. Civ. Code§ 51-53.)
  27
       31.    Plaintiff repleads and incorporates by reference, as if fully set forth again herein,
  28

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   1   the allegations contained in all prior paragraphs of this complaint. The Unruh Civil
   2   Rights Act ("Unruh Act") guarantees, inter alia, that persons with disabilities are entitled
   3   to full and equal accommodations, advantages, facilities, privileges, or services in all
   4   business establishment of every kind whatsoever within the jurisdiction of the State of

   5   California. Cal. Civ. Code §51(b).

   6   32.    The Unruh Act provides that a violation of the ADA is a violation of the Unruh
       Act. Cal. Civ. Code,§ 5l{f).
   7
       33.    Defendants' acts and omissions, as herein alleged, have violated the Unruh Act
   8
       by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff's rights to full and
   9
       equal use of the accommodations, advantages, facilities, privileges, or services offered.
  10
       34.    Because the violation of the Unruh Civil Rights Act resulted in difficulty,
  11
       discomfort or embarrassment for the plaintiff, the defendants are also each responsible
  12
       for statutory damages, i.e., a civil penalty. (Civ. Code§ 55.56(a)-(c).)
  13
                                               PRAYER:
  14
              Wherefore, Plaintiff prays that this Court award damages and provide relief as
  15
       follows:
  16          1.     For injunctive relief, compelling Defendants to comply with the Americans
  17   with Disabilities Act and the Unruh Civil Rights Act. Note: the plaintiff is not invoking
  18   section 55 of the California Civil Code and is not seeking injunctive relief under the
  19   Disabled Persons Act at all.
  20          2.     Damages under the Unruh Civil Rights Act, which provides for actual
  21   damages and a statutory minimum of$4,000 per occasion.
  22          3.     Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
  23   42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
  24                                              STOLLER LAW GROUP, PC
       Dated: May 25, 2021
  25

  26
                                                  Michael T. Stoller
  27                                              Attorney for Plaintiff,
                                                  SHONNA COUNTER
  28

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